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  5   Elissa D. Miller, Chapter 7 Trustee

  6                             UNITED STATES BANKRUPTCY COURT

  7                              CENTRAL DISTRICT OF CALIFORNIA

  8                                      LOS ANGELES DIVISION

  9   In re                                          Case No. 2:20-bk-21022-BR

 10   GIRARDI KEESE,                                 Chapter 7

 11                         Debtor,                  Adv. No. 2:21-ap-01155-BR
       _____________________________________
 12
      ELISSA D. MILLER, Chapter 7 Trustee for the    TRUSTEE’S OPENING BRIEF
 13   Estate of Girardi Keese,                       ADDRESSING ISSUES PRESENTED BY
                                                     DISTRICT COURT’S REMAND ORDER;
 14                              Plaintiff,          DECLARATION OF NICHOLAS R.
                                                     TROSZAK.
 15           vs.
                                                      [REQUEST FOR JUDICIAL NOTICE
 16   ERIKA J. GIRARDI, an individual; EJ             FILED CONCURRENTLY HEREWITH]
      GLOBAL, LLC, a limited liability company;
 17   and PRETTY MESS, INC., a corporation,

 18                              Defendants.

 19                                                  Judge: Hon. Barry Russell
                                                     Date: November 14, 2023
 20                                                  Time: 10:00 a.m.
                                                     Place: Courtroom 1668
 21                                                         Roybal Federal Building
                                                            255 E. Temple Street
 22                                                         Los Angeles, CA 90012

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  1             Elissa D. Miller, Chapter 7 Trustee for the Estate of Girardi Keese (“GK”), respectfully

  2   submits this memorandum of points and authorities in response to the District Court's "Order

  3   Reversing in Part the Order of the Bankruptcy Court and Remanding for Further Proceedings"

  4   ("Remand Order") [CV 22-5176 DSF, Docket No. 35]. The Remand Order directs the parties to

  5   address the evidentiary issue concerning the commingling of funds in the Girardi Keese IOLTA

  6   trust account and whether such commingling renders the proceeds from the sale of the diamond

  7   earrings that were the subject of the Turnover Motion presumptively part of the GK Estate’s

  8   property. [Id, at 13-14].1

  9       I.   INTRODUCTION AND SUMMARY OF ARGUMENT

 10             After her appointment as the Chapter 7 Trustee, the Plaintiff, Elissa D. Miller (“Trustee”),

 11   conducted a review of the GK’s Trust Accounts. The review led to the discovery of Thomas V.

 12   Girardi’s massive fraud, his embezzlement of millions of dollars of client trust funds, and what

 13   was essentially a criminal enterprise operated by Girardi disguised as a law firm.2 One of

 14   Girardi’s crimes, was the theft of $750,000 from the Comerica Bank GK Client “IOLTA” Trust

 15   Account (“Comerica Trust Account”). Girardi perpetrated this crime when he issued a check

 16   drawn against the Comerica Trust Account payable to M&M and then used the check to pay for

 17   diamond earrings (“Earrings”) purchased from a downtown jeweler, Ared M. Menziclian, doing

 18   business as M&M Jewelry. Girardi then attempted to conceal his theft by recording the purpose of

 19   the check on a GK case register for its Rezulin cases (a mass tort action on behalf of diabetes

 20   patients) as being issued for the payment of “costs.” This further defrauded the clients as the cost

 21   was deducted from the gross payout.

 22             Upon discovering this information, the Trustee requested Defendant Erika Girardi

 23
      1
          See, Request for Judicial Notice (“RFJN”) Exhibit 1, presented therein for the convenience of the
 24         Court and the parties.
 25   2
          On January 31, 2023, the Grand Jury sitting in Los Angeles issued a five-count indictment against
            Thomas Vincent Girardi and Christopher Kazuo Kamon (“Kamon”), GK’s former Chief
 26         Financial Officer. The indictment charged the defendants with wire fraud and criminal
            forfeiture. [RFJN, Exhibit 2]
 27
      On February 1, 2023, the Illinois Grand Jury issued a 12-count indictment against Girardi, Kamon,
 28      and former Girardi Keese lawyer and Girardi's son-in-law, David Lira. [RFJN Exhibit 3]

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  1   (“Erika”) to turn the Earrings over to the Trustee for the benefit of the estate’s creditors. Her

  2   refusal to do so forced the Trustee to file a Turnover Motion, which was supported by two

  3   evidentiary declarations that included introduction of a copy of the check used for the payment

  4   and the GK Rezulin case ledger which recorded the check as being issued for the payment of

  5   “costs”. Erika opposed the Motion but failed to submit any evidence in opposition to the Trustee’s

  6   evidence. The Court, having considered the evidence, approved the Turnover Motion by order

  7   entered on July 11, 2022 (“Turnover Order”).

  8            Erika's appeal of the Turnover Order led to the District Court partially upholding and

  9   partially overturning the Turnover Order. The District Court remanded the Turnover Motion back

 10   to this Court for additional proceedings to examine a specific evidentiary matter. This matter

 11   concerns whether GK, in its administration of the Comerica Trust Account, commingled GK funds

 12   and or funds of Thomas V. Girardi (“Girardi”) with the settlement funds GK received from the

 13   resolution of GK’s clients' cases. This examination is crucial for establishing a legal conclusion

 14   that the funds derived from the sale of Earrings should be considered part of the estate's assets.3

 15            However, on August 23, 2023, this Court entered an order (“Consolidation Order”)

 16   approving the Trustee's “Motion for Order: (A) Authorizing the Trustee to Close and Consolidate

 17   the Trust and IOLTA Bank Accounts et etc.,” (“Consolidation Motion”). The Consolidation

 18   Motion sought authorization, with one limited exception, to close and consolidate the Debtor's

 19   remaining trust accounts, and to transfer the balances from those accounts into the Trustee’s

 20   debtor account, as property of the Estate. The basis for the Consolidation Motion is that the trust

 21   accounts were out of trust and that the mix of non-client transactions and transactions involving

 22   the settlement of GK’s client cases were so commingled as to render the ability to separate out the

 23   transactions essentially impossible, and accordingly, the trust res is property of the estate. [Id.]

 24            Notably, only one objection to the Consolidation Motion was filed. Not surprisingly it

 25   came from Erika, an objection that was summarily rejected by the Court at the hearing on the

 26
      3
          The Trustee takes exception to the District Court’s conclusion that there was no evidence before
 27         the Court to establish commingling and Girardi’s embezzlement. The Trustee did not appeal
            the District Court’s order for very practical reasons – the time and cost of the appeal simply
 28         was not in the best interest of the Estate and its creditors and was confident, this Court could
            review the issue quicker than the 9th Circuit Court of Appeals.
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  1   Consolidation Motion held on August 15, 2023, given Erika presented no evidence whatsoever in

  2   support of her position. The Court also admonished Erika’s counsel for filing frivolous

  3   objections. Erika did not appeal the Consolidation Order and accordingly, the Consolidation

  4   Order is now a final order and not subject to further challenge. The Consolidation Order is

  5   therefore res judicata as to the issue of commingling and conclusively decides the issue of

  6   commingling for all the parties who participated in the Consolidation Motion proceedings, which

  7   includes Erika. Having resolved the issue posed by the District Court, that there was commingling

  8   in the trust accounts that supported a legal conclusion that the trust res was property of the Estate,

  9   this Court should now render judgment on the Trustee's Turnover Motion in favor of the Trustee,

 10   without the need for further consideration of evidence or argument.

 11            Moreover, the District Court’s order wasn’t limited to a direction to inquire further into the

 12   ownership of the trust funds. In fact, the District Court affirmed the Trustee’s position that

 13   regardless of whether the money was commingled and therefore the Earrings were property of the

 14   Estate, or the property of the beneficiaries of the trust account, Erika, as the recipient of the fruits

 15   of the money stolen from the trust account, does not have any right or interest in the Earrings or

 16   the proceeds of the sale thereof. This ruling is the law of the case. As such, although the District

 17   Court found that Erika had standing to prosecute the appeal, given she was the defendant in

 18   adversary action, based upon the District Court’s ruling, Erika no longer has a pecuniary interest

 19   in the proceeds of the Earrings. Accordingly, this Court should enter judgment in favor of the

 20   Trustee on the Trustee’s Turnover Motion without further consideration to Erika’s arguments.

 21            Finally, the evidence of commingling, as presented in the previous declarations filed in

 22   support of the Turnover Motion, (see Request for Judicial Notice (“RFJN”), Exhibit 8 )4, and the

 23   in support of the Consolidation Motion, (RFJN, Exhibit 4) when considered with the Declaration

 24   of Nicholas Troszak, a managing director at Development Specialists, Inc. (“DSI”), the duly

 25   appointed forensic accountant for the Trustee submitted herewith, establishes by more than a

 26   preponderance of the evidence that the commingling that took place in the Comerica Trust

 27   Account is essentially the same type of commingling that occurred post 2013. Mr. Troszak's

 28   4
          The declarations are attached to the Turnover Motion RFJN, Exhibit 8 and to the Consolidation
           Motion, RJFN, Exhibit 4, which the Trustee is incorporating herein by reference.
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  1   testimony elucidates that the Rezulin settlement funds were not placed in a separate trust account

  2   but rather in the Comerica Trust Account, which also held settlement funds from other various GK

  3   representations. Mr. Troszak's testimony also reveals that between 2002 and 2010, Girardi made

  4   direct payments totaling $2,082,849.59 from the Comerica Trust Account to G & L Aviation, a

  5   Girardi and Walter Lack general partnership, which they used to hold title to resort properties,

  6   private airplanes and yachts. An additional $3,200,000 was paid directly from the Comerica Trust

  7   Account for Girardi's real estate investment in "PacTen;" and, there was the $750,000.00 payment

  8   for the purchase of Earrings. During this same period, Girardi deposited $29,131,673.47 into the

  9   Comerica Trust Account, indicating that money flowed into the account from TVG, TVG loans, or

 10   funds accounted for under case number 10001 (case name: TVG). GK also disbursed

 11   $31,579,332.25 in checks and made transfers, demonstrating that payments were made to TVG,

 12   TVG loan, or were accounted for under case number 10001. These deposits and payments

 13   unequivocally establish the commingling of personal funds with client trust funds, a direct

 14   violation of California Rules of Professional Conduct, Rule 1.15, which explicitly prohibits the

 15   commingling of trust funds with a lawyer's or law firm's personal funds. This compelling

 16   evidence, which cannot be refuted by Erika, establishes by a preponderance of the evidence that

 17   commingling occurred from 2002 to 2010, and that the funds in the GK Trust Account, including

 18   the proceeds from the sale of the Earrings, should be designated as property of the Estate.

 19   II.      STATEMENT OF FACTS5

 20             A. Procedural Background

 21             The Trustee’s Turnover Motion was filed on January 25, 2022, together with the

 22   declarations by the Trustee, Elissa D. Miller, and Daphne Masin, both of which are attached to the

 23   Turnover Motion. [Adv. Dkt., 28]

 24             Erika opposed the Motion but failed to submit any evidence in opposition to the

 25   testimony of Ms. Miller and Ms. Masin. [Adv. Dkt. 47] The Trustee replied to Erika’s

 26
      5
          Given the extensive proceedings in this case over the almost three years since the GK bankruptcy
 27         filing, the Trustee will forego presenting well established background and foundational facts
            and limit the factual discussion to the facts specifically relevant to the issues presented by the
 28         District Court’s Remand Order.

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  1   opposition [Adv. Dkt. 48] The Turnover Motion was granted by order entered on July 11,

  2   2022 [Adv. Dkt. 58]

  3            Erika appealed the order on July 26, 2022. The parties fully brief the appeal and on May 1,

  4   2023, the District Court entered its order reversing in part this Court’s order and remanded for

  5   further proceedings based upon the District Court’s determination that the Trustee had not met her

  6   burden of proof that the funds were commingled and were Estate property. [Remand Order, Dist.

  7   Ct. Dkt. 35, pp. 13-14]. 6

  8            On June 1, 2023, the Trustee filed her Motion for Order: (A) Authorizing the Trustee to

  9   Close and Consolidate the Trust and IOLTA Bank Accounts; (B) Confirming the Banks’ Authority

 10   as to the Minors Blocked Bank Accounts Pursuant to 11 U.S.C. § 721; and (C) Abandoning the

 11   Citibank Bank Account Pursuant to 11 U.S.C. § 554 (the “Consolidation Motion”) [Bankr. Dkt.
 12   1787] The Consolidation Motion sought authorization, with one limited exception, to close and

 13   consolidate the Debtor’s remaining trust accounts and Interest on Lawyers Trust Accounts

 14   (“IOLTA”) bank accounts, treat these funds as property of the Estate, and transfer them to the

 15   Estate’s general operating bank account. This request was made following the forensic

 16   accountants’ analysis of the Debtor’s transactions over the seven-year period preceding the

 17   commencement of the bankruptcy case. During this period, the Debtor deposited and disbursed

 18   over $1,000,000,000 (comprising more than $400,000,000 for non-trust bank accounts and

 19   $600,000,000 for trust bank accounts). The forensic accountants discovered that the Debtor’s trust

 20   and IOLTA accounts were out of trust and not properly separated (with one limited exception),

 21   resulting in commingling of funds. The forensic accountant also noted that tracing the source of

 22   these funds has proven to be prohibitively expensive and practically impossible, further

 23   complicated by the unavailability of bank records for the periods preceding the seven-year

 24   analysis.

 25            Notably, only one objection to the Consolidation Motion was filed. Not surprisingly it

 26   came from Erika [Bankr. Dkt. 1805], which objection was summarily rejected by the Court at the

 27   August 15, 2023 hearing on the Consolidation Motion.

 28   6
          The Trustee did not appeal the District Court’s order for very practical reasons – the time and
           cost of the appeal simply was not in the best interest of the Estate and its creditors.
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  1            On August 23, 2023, this Court entered its order, [Bankr. Dkt. 1898] (“Trust Consolidation

  2   Order”) approving the Trustee’s Consolidation Motion. Erika did not appeal the Consolidation

  3   Order.

  4            B. Facts Pertinent to the Issue of Commingling

  5            From at least 2000 through 2023, GK maintained an IOLTA Trust account at Comerica

  6   Bank, Account no. 6674 (the “Comerica Trust Account”). A majority of the transactions occurred

  7   prior to December 17, 2013. The Comerica Trust Account was one of GK’s primary IOLTA Trust

  8   accounts and was not a single purpose trust account. [Declaration of Nicholas Troszak II

  9   (“Troszak Decl. II) ¶¶ 3-4, Exhibit 6].

 10            As outlined in Troszak Decl. II, the period spanning from 2002 through 2010 saw the

 11   recording of the following transactions in the Comerica Trust Account Activity Register ending in

 12   6674 (“Activity Register”). This Activity Register details the transactions for the Comerica Trust

 13   Account ending in 6674, which is the trust account into which the Rezulin settlement proceeds

 14   were deposited. [Troszak Decl. II, ¶ 4]

 15            Date      Tran     Case #   Payer / Payee                Description             Amount
                         Type
 16        10.16.2002    Wire     10001         US Bank           Close US Bank Account        $29,123.35
           10.16.2002    Wire     10001         US Bank           Close US Bank Account        $4,148.76
 17
           10.16.2002    Wire     10001         US Bank           Close US Bank Account         $954.48
 18        9.23.2004     Wire     10001    Comerica Bank         TVG Loan Proceeds           $1,500,000.00

 19        9.23.2004     Check    10001           GK             Loan from TVG                -$500,000.00
           10.22.2004    Check    10001           GK             Loan from TVG                -$250,000.00
 20        10.27.2004    Check    10001           GK             Loan from TVG                -$250,000.00
 21        11.5.2004     Check    10001           GK             Loan from TVG                -$500,000.00
           1.20.2005     Check    10001          TVG             TVG loan proceeds            $347,446.88
 22        1.26.2005     Check    10001           GK             Loan from TVG                -$200,000.00
 23        1.26.2005     Check    10001          TVG             Loan                         -$147,466.88
           1.28.2005     Check    10001          TVG             Thomas V. Girardi [Loan]    $1,000,000.00
 24        1.28.2005     Check    10001           GK             TVG loan proceeds            -$500,000.00
           2.11.2005     Wire     10001          TVG             Loan                         $750,000.00
 25
           2.11.2005     Check    10001           GK             TVG loan proceeds            -$500,000.00
 26        2.22.2005     Check    10001          TVG             Loan                         -$68,121.00
           4.25.2006     Check    10001           GK             GK Transfer from 94298      $14,000,000.00
 27
           4.25.2006     Check    10001           GK             Comerica                    -$14,000,000.00
 28        4.25.2006     Check    94298           GK             Transfer to 10001           -$14,000,000.00


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  1          4.26.2005       Wire     10000   G&L Aviation           Fees-wire transfer           -$500,000.00
  2                                                                  No entry [Girardi -Lack
             6.22.2006      Check     10001   G&L Aviation                                        -$750,000.00
                                                                     Airplane LLC)
  3                                                                  Scott Rd. Assoc. (TVG real
             6.22.2006      Check     10001      Pac Ten                                          -$3,200,000.00
                                                                     estate invest).
  4
             7.18.2006      Check     10001    Hundall et al         No entry                     -$200,000.00
  5
             3.02.2007      Check     21101    M7M Jewelry           Costs                        -$750,000.00
  6
             3.12.2009      Check     23150   G & L Aviation         Assoc. Counsel Fees          -$650,000.00
  7

  8                                            Terra Coastal
             10.09.2009     Check     10209                          TVG                          $5,844,740.63
                                                 Escrow
  9          11.10.2009     Deposit             Comerica             TVG                          $5,000,000.00
 10          1.13.2010      Check     21239   G & L Aviation         No Entry                     -$182,849.59

 11
               Each of these transactions clearly violated Rule 1.15. Notably, Girardi made payments
 12
      totaling $2,082,849.59 directly from the GK Trust Account to G & L Aviation, a California
 13
      general partnership owned by Girardi and Walter Lack, which they used to finance their use of
 14
      private airplanes and yachts and to hold title to various luxury vacation homes. An additional
 15
      $3,200,000 was allocated for Thomas Girardi’s real estate investment in “PacTen.” [See, e.g.,
 16
      Declaration of Walter John Lacks, RFJN, Exhibit 7] Furthermore, there was the payment of
 17
      $750,000.00 for the purchase of Earrings. [See, Troszak Decl. II, at ¶¶ 5-6]
 18
               During this same period, Girardi deposited $29,131,673.47 into the GK Trust Account,
 19
      indicating TVG, TVG loan, or accounted for under the case number of 10001, case name TVG.
 20
      GK also disbursed $31,579,332.25 in checks or transfers indicating TVG, TVG loan, or accounted
 21
      for under the case number of 10001, case name TVG. [See, Troszak Decl. II, at ¶¶ 7-9]
 22
      III.     DISCUSSION
 23
               A.         Mandate by the District Court and the Issue Presented
 24
               The related rule of mandate requires the bankruptcy court to "act on the mandate of an
 25
      appellate court, without variance." United States v. Garcia-Beltran, 443 F.3d 1126, 1130 (9th Cir.
 26
      2006). However, the rule of mandate allows the bankruptcy court to "decide anything not
 27
      foreclosed by the mandate." Stacy v. Colvin, 825 F.3d 563, 568 (9th Cir. 2016) (citing Hall v. City
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  1   of Los Angeles, 697 F.3d 1059, 1067 (9th Cir. 2012)). Thus, the bankruptcy court is limited by the

  2   appellate court's remand only "when the scope of the remand is clear." Hall, 697 F.3d at 1067

  3   (citing Mendez-Gutierrez v. Gonzales, 444 F.3d 1168, 1172 (9th Cir.2006)). Here, the mandate

  4   requires the Court to address the issue of whether or not the Comerica Trust Account was

  5   commingled to the extent that the proceeds of the sale of the Earrings are property of the Estate or,

  6   should be distributed to the GK Rezulin clients as beneficiaries of the Comerica Trust Account

  7   assuming arguendo the payment could be directly traced to the Rezulin settlement proceeds, which

  8   as demonstrated herein, is a task that cannot be reasonably accomplished.

  9
              B. The Res Judicata Effect of the Court’s Consolidation Order and the Factual
 10              Findings Upon Which it is Based Conclusively Establishes Commingling of the
                 Trust Funds
 11
                  1. The Consolidation Order’s Establishes Commingling of the Trust Funds and is
 12
                      Issue Determinative of the Remand Order Based Upon Claim Preclusion or Res
 13
                      Judicata
 14
              The doctrine of claim preclusion, or res judicata, "bars any subsequent suit on claims that
 15
      were raised or could have been raised in a prior action." Cell Therapeutics, Inc. v. Lash Grp., Inc.,
 16
      586 F.3d 1204, 1212 (9th Cir. 2009). "Claim preclusion 'applies when there is (1) an identity of
 17
      claims; (2) a final judgment on the merits; and (3) identity or privity between the parties.'" Id.
 18
      (quoting Stewart v. U.S. Bancorp, 297 F.3d 953, 956 (9th Cir. 2002)). To demonstrate privity
 19
      between a non-party and a party to former litigation, "the party who asserts that the matter is
 20
      barred by claim preclusion must demonstrate that the nonparty's interests and rights were
 21
      represented and protected in the prior action." Pedrina v. Chun, 97 F.3d 1296, 1301-02 (9th Cir.
 22
      1996); see, United States v. ITT Rayonier, Inc., 627 F.2d 996, 1003 (9th Cir. 1980) (holding that
 23
      privity exists between a non-party and a party if the latter is so closely bound with the former as to
 24
      be its "virtual representative").
 25
              The District Court's mandate regarding the commingling of trust funds was effectively
 26
      resolved when Erika challenged the Trustee's Consolidation Motion. This motion aimed to
 27
      ascertain if the Debtor had mixed its funds or Girardi’s personal funds within the GK Trust
 28
      Accounts to the extent that these trust funds became part of the Estate's property. The Court's
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  1   rejection of Erika's objection and its subsequent order determining that the Debtor's trust funds

  2   indeed constitute Estate property has definitively settled the issue of commingling. As such this

  3   matter is now subject to issue preclusion, meaning it cannot be reopened for further litigation. As

  4   established in Segal v. American Tel. & Tel. Co., 606 F.2d 842, 845 (9th Cir. 1979), as cited in

  5   Americana Fabrics, Inc. v. L & L Textiles, Inc., 754 F.2d at 1529 (9th Cir. 1985), the doctrine of

  6   issue preclusion bars the reexamination of any "issues of fact or law that were actually litigated

  7   and necessarily decided" in a prior proceeding.

  8          For issue or claim preclusion to apply, the previous order must fulfill three elements: (1) an

  9   identity of claims (the issue of commingling), (2) a final judgment on the merits (the Court’s

 10   order), and (3) identity or privity between the parties (the Trustee and Erika). The Consolidation

 11   Motion and Order therefore satisfies all three elements vis à vis a determination of commingling of

 12   the trust account res and that the same is property of the Estate. [Consolidation Motion, at pp. 7-

 13   8]; Consolidation Order]. As noted, res judicata precludes this issue from being relitigated. The

 14   impact of these settled issues and the doctrines of claim preclusion and res judicata is decisive in

 15   meeting the District Court's mandate.

 16              2. The Evidence Presented in the Turnover Motion, the Consolidation Motion, and the

 17                  Declaration of Nicholas Troszak Submitted Herewith Satisfies the Preponderance

 18                  of the Evidence Standard Mandated by the District Court.

 19          Erika will undoubtedly challenge the applicability of Consolidation Order and findings

 20   presented in the Motion for Consolidation and adopted by the Court as irrelevant to the issue of

 21   commingling for the time-period the Earrings were purchased – 2007, notwithstanding the issue of

 22   the pre-2013 transfers was presented to the Court for discussion. [See, Exhibit 4, Consolidation

 23   Motion at 9-10:21-2; Declaration of Nicholas Troszak (“Troszak Decl. I”) at 15-16:11-19]

 24   Nevertheless, as detailed above and as presented in Mr. Troszak’s Decl. II, between 2002 and

 25   2010, Girardi consistently violated the California Rules of Professional Conduct, which expressly

 26   prohibit a lawyer or law firm from depositing funds belonging to the lawyer or law firm into a

 27   Clients Trust Account. According to California Rules of Professional Conduct, Rule 1.15 (c) on

 28   "Safekeeping Funds and Property of Clients and Other Persons," it is stated that: "Funds belonging

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  1   to the lawyer or law firm shall not be deposited or otherwise commingled with funds held in a

  2   trust account."

  3            The District Court has mandated that the Trustee must establish, by a preponderance of the

  4   evidence, that during the relevant time-period (2002-2010) commingling occurred in the Comerica

  5   Trust Account sufficient to support a conclusion that it cannot be determined which funds from

  6   what case, if any, were used to purchase the Earrings.7

  7            "Proof by the preponderance of the evidence means that it is sufficient to persuade the

  8   finder of fact that the proposition is more likely true than not." United States v. Arnold & Baker

  9   Farms, 177 B.R. 648, 654 (9th Cir. BAP 1994) (In re Arnold & Baker Farms). See, Concrete Pipe

 10   & Prods. of Cal., Inc. v. Constr. Laborers Pension Tr. for So. Cal., 508 U.S. 602, 622, 113 S. Ct.

 11   2264, 124 L. Ed. 2d 539 (1993) ("The burden of showing something by a 'preponderance of the

 12   evidence,' . . . 'simply requires the trier of fact to believe that the existence of a fact is more

 13   probable than its nonexistence before [he] may find in favor of the party who has the burden to

 14   persuade the [judge] of the fact's existence.'" In so doing the finder of fact is entitled to draw

 15   reasonable inferences from proven facts using both circumstantial and testimonial evidence which

 16   are indistinguishable insofar as the fact-finding function is concerned and can be used to prove any

 17   fact." United States v. Ramirez-Rodriquez, 552 F.2d 883, 884 (9th Cir. 1977) (quoting United

 18   States v. Nelson, 419 F.2d 1237, 1239-41 (9th Cir. 1969)). See also, United States v. Kelly, 527

 19   F.2d 961, 965 (9th Cir. 1976); and Payne v. Borg, 982 F.2d 335, 339 (9th Cir. 1992) (citing United

 20   States v. Stauffer, 922 F.2d 508, 514 (9th Cir. 1990)). Circumstantial evidence is evidence that

 21   relies on an inference to connect it to a conclusion of fact. It is not direct evidence that proves a

 22   fact by itself, but rather indirect evidence that suggests a fact by proving other events or

 23   circumstances.

 24   7
          Because Girardi was commingling personal funds and client trust funds for years preceding the
           payment on the earrings, it is appropriate to consider an extended time frame for the analysis.
 25        As noted in the Trustee’s Consolidation Motion, given that the funds were hopelessly
           commingled, it is prohibitively expensive – if not nearly impossible- for the Trustee’s forensic
 26        team to perform a tracing analysis to determine the ultimate source of the funds in the trust and
           IOLTA accounts. Adding to the difficulties is that many of these bank accounts predated the
 27        bankruptcy for so many years that the bank records of the sources and uses for the funds in the
           bank accounts prior to the seven-year period are not even available. The Trust Activity
 28        Register is the best evidence of the trust account transactions that took place, and clearly
           establishes commingling by Girardi in the millions of dollars.
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  1          The following evidence accomplishes the task assigned by the District Court.

  2          As presented in the Declaration of Nicholas Troszak attached to the Consolidation Motion

  3   [RFJN, Exhibit 4, at pp.14-16]:

  4          •   The Debtor also utilized a MS Access database to account for the trust and Interest on

  5              Lawyers Trust Accounts ("IOLTA") bank accounts they maintained. The MS Access

  6              database contained the Client Portfolio Case name and number associated with each

  7              transaction. Initially, DSI received a download of over 78,000 trust account entries

  8              dating back to 1998 from the MS Access database.

  9          •   The downloaded information served as the initial foundation for the Cash Database.

 10              The Cash Database has been reconciled to bank statements and includes over 300,000

 11              entries (approximately 25,000 trust account entries and approximately 275,000 non-

 12              trust account entries) for deposits and disbursements from the Debtor's accounts.

 13          •   During my analysis of the Debtor's financial documents, I observed that the Debtor had

 14              control over trust and IOLTA bank accounts that were out of trust. Further, with one

 15              limited exception, I observed that the Debtor did not properly segregate the funds in its

 16              trust and IOLTA bank accounts. Rather, the Debtor regularly commingled its client

 17              funds in the trust and IOLTA bank accounts. The intermingling of funds in the trust

 18              and IOLTA accounts included approximately $10,000,000 of the Debtor's own funds

 19              and another approximately $40,000,000 from other sources unrelated to client

 20              settlements.

 21           • Given the high volume of transactions, the accounts out of trust and that the

 22              commingling of client funds likely occurred many years before the seven-year period

 23              prior to bankruptcy, it will be nearly impossible to conduct a tracing analysis in the

 24              Debtor's trust and IOLTA bank accounts to determine the ultimate source of the funds

 25              in the accounts.

 26          As established by the Declaration of Daphne Masin (“Masin Decl”) submitted in support

 27   of the Turnover Motion [RFJN Exhibit 8, 20-21:3-19]:

 28          •   GK records had a ledger account for checks written to M&M on the Firm's operating

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  1                 account at Comerica Bank totaling in excess of $1.6 million, [RFJN, Exhibit 8]

  2             •   There were checks drawn against the Rezulin Trust Account at Comerica Bank
  3                 (“RTA”) dated March 2, 2007, check no. 15847 payable to M&M in the amount of

  4                 $750,000.00 (the “March 2nd Check”). [RFJN, Exhibit 6, p.88]

  5             •   The description on the Rezulin ledger identifies the payment was made for "costs."
  6                 [RFJN, Exhibit 6]

  7             •   A complete review of the RTA demonstrates that GK paid itself $15,074,805.82
  8                 described as "costs" and $7,500,000 described as payment for "fees".

  9             •   A listing of the fees and costs is set forth on a spreadsheet, attached as Exhibit 9 to
 10                 RFJN.]

 11             As outlined in the Declaration of Nicholas Troszak (Troszak Decl. II), submitted herewith,

 12   the period spanning from 2002 through 2010 saw the recording of a number of transactions in the

 13   Activity Register8 that evidence that Girardi deposited $29,131,673.47 into the GK Trust Account,

 14   indicating TVG, TVG loan, or accounted for under the case number of 10001, case name TVG.

 15   GK also disbursed $31,579,332.25 in checks or transfers indicating TVG, TVG loan, or accounted

 16   for under the case number of 10001, case name TVG.

 17             It is also noteworthy that Girardi made payments totaling $2,082,849.59 directly from the

 18   GK Trust Account to Girardi and Lack’s partnership, G & L Aviation. An additional $3,200,000

 19   was allocated for Thomas Girardi's real estate investment in "PacTen." Furthermore, there was a

 20   payment of $750,000.00 for the purchase of earrings. [Troszak Decl. II]

 21             Taken together, this preponderance of the evidence establishes that during the relevant

 22   period (2002-2010), Girardi, as he did post-2013, operated the Comerica Trust Account as if it

 23   was his personal piggy bank. He used client trust funds, or at least funds deposited into the

 24   Comerica Trust Account to finance his resort homes, planes, yachts, cars, real estate investments,

 25   and purchases of jewelry. This evidence constitutes a clear commingling of his personal funds

 26   with client trust funds, all in blatant violation of California Rules of Professional Conduct, Rule

 27   1.15.

 28
      8
          Again, this is the trust account into which the Rezulin settlement proceeds were deposited.
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  1               C. The Motion Should be Granted as the District Court Decision Precludes Erika

  2                      from Asserting an Interest in the Proceeds of the Sale of the Earrings.

  3           The District Court's decision wasn't entirely one-sided. It also upheld the Bankruptcy

  4   Court's order rejecting Erika's statute of limitations defenses (as indicated in the Remand Order at

  5   8-11). Additionally, the District Court ruled that Erika had waived any objection to the sale of the

  6   Earrings. These two determinations, in conjunction with the District Court's directive regarding

  7   commingling, now leave Erika with a diminished stake in this matter. In other words, due to the

  8   findings of this Court and the District Court, Erika no longer possesses a substantial, legally

  9   protectable interest that would warrant her recovery. See, Nw. Forest Res. Council v. Glickman,

 10   82 F.3d 825, 837 (9th Cir. 1996), as amended on denial of reh'g (May 30, 1996) (A significant

 11   protectible interest necessitates two key components: (1) an interest protected by law and (2) a

 12   “relationship between the protected interest and the claim at issue.”) This interest must be direct,

 13   non-contingent, substantial, and legally defensible. Dilks v. Aloha Airlines, 642 F.2d 1155, 1157

 14   (9th Cir. 1981).

 15           In light of the issues pertaining to commingling as defined by the District Court, the

 16   proceeds from the sale of the Earrings cannot revert to Erika. The District Court's order implicitly

 17   indicated that these funds either belong to specifically identifiable clients or the Estate and should

 18   be administered by the Trustee. In all events, Erika no longer has a “dog in this fight.”

 19           Erika has falsely allowed her PR team to suggest she won the appeal and has gone so far as

 20   to suggest she is entitled to the proceeds from the sale. As the Court knows and the District Court

 21   affirmed, the buyer of the earrings has no further exposure as a result of the sale. The auctioneer

 22   and other professionals have already been paid for the work related to the sale. The proceeds of

 23   the sale under any scenario are not Erika’s. They are the clients whose funds were

 24   misappropriated.

 25           The District Court’s order never provided a windfall to Erika to receive stolen client funds

 26   that were used to purchase her replacement earrings from an alleged burglary. The money used to

 27   purchase the Earrings is either Estate property or the clients’ property, but it is not Erika’s

 28   property under any scenario. This undisputed finding by this Court and the District Court

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  1   precludes Erika from any claim to the proceeds from the sale of the Earrings. She cannot profit

  2   from her husband’s theft of his clients’ money and that should be cleared up in any order or

  3   finding by this Court. 9

  4   IV.      CONCLUSION

  5            As presented above, the evidence proffered by the Trustee clearly establishes that the

  6   Comerica Trust Account was so irrevocably commingled with the personal funds and transactions

  7   of Thomas V. Girardi that the proceeds from the sale of the Earrings are clearly assets of the

  8   estate, subject to administration by the Trustee.

  9            For all the foregoing reasons, the Court should grant the Trustee’s Turnover Motion.

 10   Dated: October 23, 2023.                      Respectfully Submitted,

 11                                                 JENKINS MULLIGAN & GABRIEL LLC
 12

 13

 14

 15
                                                    By:________________________
 16                                                         Larry W. Gabriel
                                                    Special Litigation Counsel for Plaintiff Elissa D.
 17                                                 Miller, Chapter 7 Trustee, Estate of Girardi Keese

 18

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 26   9
          Even though Erika eventually turned over the Earrings to the Trustee, there is controversy as to
           whether or not the Earrings Erika gave the Trustee were the same diamonds purchased with
 27        the Trust Funds in 2007. In Mr. Menziclian’s declaration (RFJN Exhibit 9) he stated that “On
           March 2, 2007, I sold Thomas V. Girardi a pair of earrings that were approximately 7 carats
 28        each. Yet the diamonds Erika turned over to the Trustee were (1) 6.01 carats and (2) 6.57
           carats. See, GIA certificates 5221686770 and 5221686775, RFJN Exhibits 9 and 10.
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  1                            DECLARATION OF NICHOLAS R. TROSZAK

  2             I, Nicholas R. Troszak, declare as follows:

  3                1. I am a managing director at Development Specialists, Inc. (“DSI”). I am a Certified

  4   Public Accountant. I am also Certified in Financial Forensics (CPA/CFF), and a Certified

  5   Insolvency and Restructuring Advisor (CIRA) with over 15 years of experience providing services

  6   in bankruptcy, forensic/investigative accounting, and litigation support. I know each of the

  7   following facts to be true of my own personal knowledge, except as otherwise stated and, if called

  8   as a witness, I could and would competently testify with respect thereto. I make this declaration in

  9   support of the Girardi Keese Trustee’s Opening Brief Addressing Issues Presented by the District

 10   Court’s Remand Order.

 11                2. The information set forth in this declaration is the result of reviewing and analyzing

 12   the Debtor’s books and records accounted for contemporaneously and retrieved from the Debtor’s

 13   office.

 14                3. I have reviewed the Debtor’s Trust Account System Activity Register (“Activity

 15   Register”) for the Comerica Bank trust account ending in 6674, (“Comerica Trust Account” or

 16   “CTA”), retrieved from the Debtor’s trust accounting system. The Activity Register is one of the

 17   accounting methods used by the Debtor in the ordinary course of its business activities. It

 18   represents the best available record of the transactions that took place in the Comerica Trust

 19   Account during the period of time from March 26, 2002, through January 10, 2018, at which time

 20   Girardi Keese (“GK”) essentially ceased using the CTA, although it remained open until February

 21   2021. The majority of the transactions in this account occurred between 2002 and December 17,

 22   2013.

 23                4. The Comerica Trust Account was one of GK’s primary IOLTA Trust accounts and

 24   was not a single purpose trust account. During DSI’s construction of its cash database, for

 25   December 1, 2013, through the petition date of December 18, 2020, that was used by the Trustee

 26   to support her Motion of Consolidation, [Bankr. Dkt. 1787] DSI utilized similar Activity

 27   Registers in electronic format to assist in the creation of the cash database. The below information

 28   details my review of the Comerica Trust Account Activity Register for the period of time 2002
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  1   through 2010:

  2                5. Deposits Made into the Comerica Trust Account by Thomas V. Girardi or

  3   GK. During the time period April 22, 2002, through December 31, 2010, $29,131,673.47 was

  4   deposited into the Comerica Trust Account that were credited as deposits made by Thomas V.

  5   Girardi (“TVG”), or as a TVG loan, or accounted for under the case number of 10001, case name

  6   TVG. See Exhibit 1.

  7                6. Payments Made Out of the Comerica Trust Account to Thomas V. Girardi or

  8   GK. During the same time period (April 22, 2002, through December 31, 2010), $31,579,332.25

  9   was disbursed from the Comerica Trust Account described as payments made to TVG, TVG loan,

 10   or accounted for under the case number of 10001, case name TVG. See Exhibit 1.

 11          The payments in and payments out differential is a negative $ 2,447,658.78. To be clear,

 12   according to this ledger, TVG/GK took almost $2.5 million out of the Comerica Trust Account,

 13   more than it put in during this specified period of time. None of the transactions in this calculation

 14   were described as a payment for fees or costs.

 15                7. Comerica Trust Account Payments to G &L Aviation. G & L Aviation was a

 16   partnership between Thomas V. Girardi and Walter J. Lack. See Declaration of Walter Johns

 17   Lack, Trustee’s Request for Judicial Notice, Exhibit 2. During the time period of April 22, 2002,

 18   through December 31, 2010, $2,082,849.59 in payments were made to G & L Aviation. See

 19   Exhibit 3.

 20                8. The Pac Ten Payment. On June 22, 2006, a check was issued against the

 21   Comerica Trust Account payable to Pac Ten Scott Road Associates, LLC, in the amount of

 22   $3,200,000.00. See Exhibit 3. There was no description of the payment. Mr. Girardi’s Financial

 23   Statement, December 2017, sets forth as a real estate asset “Pac Ten Partners - 45% interest”. See

 24   Exhibit 4 attached hereto.

 25                9. The Diamond Earrings Payment. On March 2, 2007, a check was drawn against

 26   the Comerica Trust Account payable to M&M in the amount of $750,000. The description for the

 27   check, “Costs” relating to GK case name Rezulin, case number 21101. See Exhibit 3.

 28                10. The Rezulin Settlement Payment. The Rezulin case settlement proceeds in the
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  1   amount of $64,845,728.14 were deposited into the Comerica Trust Account on or around January

  2   30, 2007. There are a number of other deposits made into the Comerica Trust Account that

  3   represented settlement funds from other GK cases. See Exhibit 5.

  4              11. A chart of the foregoing transactions is set forth below:

  5
        Case    Date       Type            Payee / Payor Name            Amount                         Description
  6    10001   10/16/02   Deposit   US Bank                                   954.48    Close Bank Account TVG or David A.
                                                                                        Prestholt
  7    10001   10/16/02   Deposit   US Bank                                  4,148.76   Close US Bank Account G&K
       10001   10/16/02   Deposit   US Bank                                 29,123.35   Close US Bank Account TVG
       10001   09/23/04    Check    GIRARDI & KEESE                     (500,000.00)    LOAN FROM TVG
  8
       10001   09/23/04   Deposit   COMERICA BANK                       1,500,000.00    TVG LOAN PROCEEDS
       10001   10/22/04    Check    GIRARDI & KEESE                     (250,000.00)    loan from TVG
  9    10001   10/27/04    Check    GIRARDI & KEESE                     (250,000.00)    loan from TVG
       10001   11/15/04    Check    GIRARDI & KEESE                     (500,000.00)    loan from TVG
 10    10001   11/19/04    Check    RAMON DESAGE                        (198,000.00)    Costs
       10001   01/20/05   Deposit   Thomas V. Girardi                     347,446.88    TVG loan proceeds
 11    10001   01/26/05    Check    GIRARDI & KEESE                     (200,000.00)    loan from TVG
       10001   01/26/05    Check    Thomas V. Girardi                   (147,446.88)    LOAN
 12    10001   01/28/05    Check    GIRARDI & KEESE                     (500,000.00)    TVG loan proceeds
       10001   01/28/05   Deposit   Thomas V. Girardi                   1,000,000.00    loan
 13    10001   02/11/05    Check    GIRARDI & KEESE                     (500,000.00)    TVG loan proceeds
       10001   02/11/05   Deposit   Thomas V. Girardi                     750,000.00    LOAN
 14    10001   02/22/05    Check    Thomas V. Girardi                     (68,121.00)   loan
       10000   04/26/05    Check    G&L AVIATION                        (500,000.00)    Fees - wire transfer orig coded to 22194
 15    10001   07/27/05     Adj     GIRARDI & KEESE                       (30,000.00)   transfer to 10205 for the Est of Mary
                                                                                        Bennett
       10001   04/25/06   Deposit   GIRARDI & KEESE                     14,000,000.00   transfer from 94298
 16    10001   04/25/06    Check    COMERICA                          (14,000,000.00)   .
       10001   06/22/06    Check    G & L Aviation                       (750,000.00)   .
 17    10001   06/22/06    Check    Pac Ten Scott Road Associates      (3,200,000.00)   .
                                    LLC
 18    10001   07/18/06    Check    HUDNALL, COHN & ABRAMS               (200,000.00)   .
       21101   03/02/07    Check    M&M                                  (750,000.00)   Costs
       23150   03/12/09    Check    G & L Aviation                       (650,000.00)   Assoc Counsel Fees
 19
       10209   10/09/09   Deposit   TERRA COASTAL ESCROW, INC.           5,844,740.63   TVG
       10209   10/15/09    Check    UNITED STATES TREASURY             (1,500,000.00)   TVG Disb
 20    10209   10/15/09   Deposit   WELLS FARGO ADVISORS, LLC              500,000.00   TVG
       10209   10/16/09    Check    KELCO PROPERTIES LLC               (2,500,000.00)   TVG Disb
 21    10209   11/06/09    Check    FRANCHISE TAX BOARD                  (500,000.00)   TVG Disb 1106622649 , 1101731097
       10209   11/10/09   Deposit   COMERICA                                            TVG
 22                                                                      5,000,000.00
       10209   11/13/09    Check    GIRARDI & KEESE                    (1,000,000.00)   TVG LOAN
 23    10209   11/16/09    Check    GIRARDI & KEESE                    (1,000,000.00)   TVG loan
       10209   11/17/09   Deposit   GIRARDI & KEESE                        155,259.37   TVG LOAN
 24    20060   11/17/09    Check    GIRARDI & KEESE                      (155,259.37)   TVG
       10209   12/11/09    Check    GIRARDI & KEESE                    (1,000,000.00)   TVG Loan
       10209   12/22/09    Check    KELCO PROPERTIES LLC               (1,135,000.00)   TVG Disb
 25
       10209   12/24/09    Check    GIRARDI & KEESE                    (1,000,000.00)   TVG Loan
       10209   12/29/09    Check    GIRARDI & KEESE                    (1,000,000.00)   TVG Loan
 26    21239   01/13/10    Check    G & L Aviation                       (182,849.59)   .
       10209   01/26/10    Check    GIRARDI & KEESE                    (1,000,000.00)   TVG Loan
 27    10209   03/23/10    Check    GIRARDI & KEESE                    (1,000,000.00)   TVG LOAN
       10209   05/10/10    Check    GIRARDI & KEESE                      (250,000.00)   TVG Loan
 28    10209   05/13/10    Check    GIRARDI & KEESE                      (250,000.00)   TVG Loan

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                    Exhibit 1




                                                               023
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Trust Account System Activity Register
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Bank Account: F - Comerica Trust 6674



 CaseNbr           CaseName              TransDate TransTypeID   CheckNbr         Payee / Payor Name     Receipts      Disbursements               Description                    Description2

  10001              TVG                 10/16/02    Deposit      3626997 US Bank                          $954.48                     Close Bank Account                   TVG or David A. Prestholt
  10001              TVG                 10/16/02    Deposit      3626996 US Bank                          4,148.76                    Close US Bank Account                G&K
  10001              TVG                 10/16/02    Deposit      3626995 US Bank                         29,123.35                    Close US Bank Account                TVG
  10001              TVG                 06/02/03     Check         10723 DAILY JOURNAL                                     (3,626.00) EXCHANGE
  10001              TVG                 09/23/04     Check         13041 GIRARDI & KEESE                                 (500,000.00) LOAN FROM TVG
  10001              TVG                 09/23/04    Deposit    987028189 COMERICA BANK                 1,500,000.00                   TVG LOAN PROCEEDS
  10001              TVG                 10/22/04     Check         13091 GIRARDI & KEESE                                 (250,000.00) loan from TVG
  10001              TVG                 10/27/04     Check         13093 GIRARDI & KEESE                                 (250,000.00) loan from TVG
  10001              TVG                 11/15/04     Check         13111 GIRARDI & KEESE                                 (500,000.00) loan from TVG
  10001              TVG                 11/19/04     Check         13117 RAMON DESAGE                                    (198,000.00) Costs
  10001              TVG                 01/20/05    Deposit        12005 Thomas V. Girardi              347,446.88                    TVG loan proceeds
  10001              TVG                 01/26/05     Check         13246 GIRARDI & KEESE                                 (200,000.00) loan from TVG
  10001              TVG                 01/26/05     Check         13247 Thomas V. Girardi                               (147,446.88) LOAN
  10001              TVG                 01/28/05     Check         13248 GIRARDI & KEESE                                 (500,000.00) TVG loan proceeds
  10001              TVG                 01/28/05    Deposit        12805 Thomas V. Girardi             1,000,000.00                   loan
  10001              TVG                 02/11/05     Check         13271 GIRARDI & KEESE                                 (500,000.00) TVG loan proceeds
  10001              TVG                 02/11/05    Deposit    450117075 Thomas V. Girardi              750,000.00                    LOAN
  10001              TVG                 02/17/05     Check         13276 GENE PRICE                                       (25,000.00) .
  10001              TVG                 02/17/05     Check         13277 GENE PRICE                                       (25,000.00) .
  10001              TVG                 02/17/05     Check         13278 GENE PRICE                                       (25,000.00) .
  10001              TVG                 02/17/05     Check         13279 GENE PRICE                                       (25,000.00) .
  10001              TVG                 02/17/05     Check         13275 J. D. Parker                                     (21,879.00) .
  10001              TVG                 02/17/05     Check         13272 J. D. Parker                                     (20,000.00) .
  10001              TVG                 02/17/05     Check         13273 J. D. Parker                                     (20,000.00) .
  10001              TVG                 02/17/05     Check         13274 J. D. Parker                                     (20,000.00) .
  10001              TVG                 02/22/05     Check         13295 Thomas V. Girardi                                (68,121.00) loan
  10001              TVG                 07/27/05   Adjustment      72705 GIRARDI & KEESE                                  (30,000.00) transfer to 10205 for the Est of Mar
  10001              TVG                 04/25/06    Deposit        42506 GIRARDI & KEESE              14,000,000.00                   transfer from 94298
  10001              TVG                 07/18/06     Check          1328 HUDNALL, COHN & ABRAMS                          (200,000.00) .
  10001              TVG                 04/25/06     Check         13845 COMERICA                                     (14,000,000.00) .
  10209      MISCELLANEOUS (2009)        10/09/09    Deposit        17450 TERRA COASTAL ESCROW, INC.    5,844,740.63                   TVG
  10209      MISCELLANEOUS (2009)        10/15/09     Check         22451 UNITED STATES TREASURY                        (1,500,000.00) TVG Disb
  10209      MISCELLANEOUS (2009)        10/15/09    Deposit     68120518 WELLS FARGO ADVISORS, LLC      500,000.00                    TVG
  10209      MISCELLANEOUS (2009)        10/16/09     Check          1986 KELCO PROPERTIES LLC                          (2,500,000.00) TVG Disb
  10209      MISCELLANEOUS (2009)        11/06/09     Check         22975 FRANCHISE TAX BOARD                             (500,000.00) TVG Disb                             1106622649 , 1101731097
  10209      MISCELLANEOUS (2009)        11/10/09    Deposit     99111009 COMERICA                      5,000,000.00                   TVG
  10209      MISCELLANEOUS (2009)        11/13/09     Check         23028 GIRARDI & KEESE                               (1,000,000.00) TVG LOAN
  10209      MISCELLANEOUS (2009)        11/16/09     Check         23030 GIRARDI & KEESE                               (1,000,000.00) TVG loan
  10209      MISCELLANEOUS (2009)        11/17/09    Deposit   1795111709 GIRARDI & KEESE                155,259.37                    TVG LOAN
  20060         SEMPRA ENERGY            11/17/09     Check    1795111709 GIRARDI & KEESE                                 (155,259.37) TVG
  10209      MISCELLANEOUS (2009)        12/11/09     Check         23157 GIRARDI & KEESE                               (1,000,000.00) TVG Loan
  10209      MISCELLANEOUS (2009)        12/22/09     Check          2662 KELCO PROPERTIES LLC                          (1,135,000.00) TVG Disb
  10209      MISCELLANEOUS (2009)        12/24/09     Check         23367 GIRARDI & KEESE                               (1,000,000.00) TVG Loan

                                                                                                                                                                 024
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  10209      MISCELLANEOUS (2009)        12/29/09     Check          23375 GIRARDI & KEESE                                  (1,000,000.00) TVG Loan
  10209      MISCELLANEOUS (2009)        01/26/10     Check          23424 GIRARDI & KEESE                                  (1,000,000.00) TVG Loan
  10209      MISCELLANEOUS (2009)        03/23/10     Check          23672 GIRARDI & KEESE                                  (1,000,000.00) TVG LOAN
  10209      MISCELLANEOUS (2009)        05/10/10     Check          24082 GIRARDI & KEESE                                    (250,000.00) TVG Loan
  10209      MISCELLANEOUS (2009)        05/13/10     Check          24093 GIRARDI & KEESE                                    (250,000.00) TVG Loan
  10209      MISCELLANEOUS (2009)        07/22/10     Check          24682 GIRARDI & KEESE                                    (500,000.00) TVG Loan
  10209      MISCELLANEOUS (2009)        08/09/10     Check          24752 SHAWN MCCANN                                       (200,000.00) TVG Disb                       Girardi Funds
  10209      MISCELLANEOUS (2009)        08/10/10     Check          24799 Robert W. Finnerty                                  (60,000.00) TVG Disb                       Girardi Funds
                                                                                                         $29,131,673.47   ($31,579,332.25)




                                                                                                                                                                    025
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                    Exhibit 2




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 1   Timothy J. Yoo (SBN 155531)
     Carmela T. Pagay (SBN 195603)
 2   Richard P. Steelman, Jr. (SBN 266449)
     LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
 3   10250 Constellation Blvd. Ste. 1700
 4   Los Angeles, CA 90067
     Telephone: (310) 229-1234
 5   Facsimile: (310) 229-1244
     Email: tjy@lnbyb.com; ctp@lnbyb.com; rps@lnbyb.com
 6
     Attorneys for Jason Rund,
 7   Chapter 7 Trustee
 8
 9                              UNITED STATES BANKRUPTCY COURT

10                               CENTRAL DISTRICT OF CALIFORNIA
11                                       LOS ANGELES DIVISION
12
      In re                                                   Case No. 2:20-bk-21020-BR
13
      THOMAS VINCENT GIRARDI,                                 Chapter 7
14
                          Debtor.
15
16
      JASON RUND, Chapter 7 Trustee for the                   Adv. No. 2:21-ap-01028-BR
17    bankruptcy estate of Thomas Vincent Girardi,
18                 Plaintiff,                                 DECLARATION OF WALTER JOHN
                                                              LACK IN SUPPORT OF PLAINTIFF’S
19                                                            MOTION FOR DEFAULT JUDGMENT
      v.
                                                              UNDER LBR 7055-1 AGAINST
20
      G & L AVIATION, a California general                    DEFENDANT G & L AVIATION, A
21    partnership,                                            CALIFORNIA GENERAL
                                                              PARTNERSHIP
22                 Defendant.
23
24
25            I, Walter John Lack, declare as follows:

26            1.      I am an attorney licensed to practice before all the courts of the State of California,

27 and my California State Bar Number is 57550. I make this Declaration in support of plaintiff Jason
28 Rund, the chapter 7 trustee’s (“Plaintiff” or “Trustee”) motion for default judgment under LBR



                                                          1                        027
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 1 7055-1 against defendant G & L Aviation, a California general partnership (“Defendant”). Unless
 2 otherwise stated, the following facts are within my personal knowledge. If called to testify as a
 3 witness with respect to the statements set forth herein, I could and would competently testify
 4 thereto.
 5          2.     Defendant is a California general partnership formed by and comprised at all times

 6 of two general partners (50% partnership interest each): the debtor Thomas Vincent Girardi (the
 7 “Debtor”) and me. I have reviewed the Trustee’s “Verified First Amended Complaint to Quiet
 8 Title, for Turnover of Real Property, and Declaratory Relief” (the “Complaint”) in the above-
 9 referenced adversary proceeding.
10          3.     In June 2006, Defendant purchased the real property located at 81775 Brown Deer

11 Park, La Quinta, California 92253 (Assessor Parcel Number (APN): 767-540-014) (the
12 “Property”). The legal description of the Property is as follows:
13                                     LEGAL DESCRIPTION

14 Real property in the City of La Quinta, County of Riverside, State of California, described as
     follows:
15
16 PARCEL 1:
   LOT 14 OF TRACT NO. 29347 AS SHOWN BY MAP ON FILE IN BOOK 285 PAGES 60
17 THROUGH 64 OF MAPS, RECORDS OF RIVERSIDE COUNTY, CALIFORNIA;
18 EXCEPT ALL OIL, MINERALS, NATURAL GAS, AND OTHER HYDROCARBONS BY
     WHATSOEVER NAME KNOWN, GEOTHERMAL RESOURCES, METALLIFEROUS OR
19 OTHER ORES, AND ALL PRODUCTS DERIVED FROM ANY OF THE FOREGOING,
20 THAT MAY BE WITHIN OR UNDER THE PROPERTY, AND ALL RIGHTS
     ASSOCIATED WITH THE FOREGOING, TOGETHER WITH THE PERPETUAL RIGHT
21 OF DRILLING, MINING, EXPLORING AND OPERATING THERE FOR AND STORING
     IN AND REMOVING THE SAME FROM SAID LAND OR ANY OTHER LAND,
22 INCLUDING THE RIGHT TO WHIPSTOCK OR DIRECTIONALLY DRILL AND MINE
     FROM LANDS OTHER THAN THE PROPERTY, OIL OR GAS WELLS, TUNNELS AND
23
     SHAFTS INTO, THROUGH OR ACROSS THE SUBSURFACE OF THE PROPERTY AND
24   TO BOTTOM SUCH WHIPSTOCKED OR DIRECTIONALLY DRILLED WELLS,
     TUNNELS AND SHAFTS UNDER AND BENEATH OR BEYOND THE EXTERIOR
25   LIMITS THEREOF, AND TO REDRILL, RETUNNEL, EQUIP, MAINTAIN, REPAIR,
     DEEPEN AND OPERATE ANY SUCH WELLS OR MINE WITHOUT, HOWEVER, THE
26   RIGHT TO DRILL, MINE, STORE, EXPLORE AND OPERATE THROUGH THE
     SURFACE OF THE UPPER 500 FEET OF THE SUBSURFACE OF THE PROPERTY AS
27
     RESERVED IN THE DEED RECORDED OCTOBER 29, 1999 AS INSTRUMENT NO. 1999-
28   478750 OF OFFICIAL RECORDS OF RIVERSIDE COUNTY, CALIFORNIA.



                                                     2                       028
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 1 PARCEL 2:
 2 NON-EXCLUSIVE EASEMENTS CONTAINED IN THE GRANT DEED RECORDED
     SEPTEMBER 23, 2003 AS INSTRUMENT NO. 2003-741895 FOR PEDESTRIAN AND
 3 VEHICULAR (INCLUDING CONSTRUCTION VEHICLES) INGRESS AND EGRESS
 4 OVER AND ACROSS THE REAL PROPERTY DESCRIBED AS FOLLOWS:
 5 LETTERED LOTS D, F AND I THROUGH M OF TRACT NO. 29136 AS SHOWN BY MAP
   ON FILE IN BOOK 285 PAGES 4 THROUGH 16 OF MAPS, RECORDS OF RIVERSIDE
 6 COUNTY, CALIFORNIA.
            A.P.N.: 780-250-014.
 7
            4.     In 2014, the Debtor and I, as the two equal partners of Defendant, mutually agreed
 8
 9 as the partners of Defendant to transfer the Property from Defendant to the Debtor. In
10 consideration of my agreement with the Debtor, the Debtor paid me for my partnership interest in
11 Defendant in the Property in exchange for my agreement to have Defendant transfer the Property
12 from the Defendant to the Debtor as the Debtor’s sole property.
            5.     The Debtor and I, on behalf of Defendant, performed all steps in connection with
13
14 transferring the Property from Defendant to the Debtor (including the Debtor’s payment to me for
15 my ownership interest in the Property as a partner of Defendant), except that Defendant, the
16 Debtor and I did not sign any quit claim deed or grant deed related to the transfer of the Property
17 from Defendant to the Debtor.
            6.     Similarly, there is a Morgan Stanley Smith Barney LLC Account No. 565-xxx581-
18
19 xxx (the “Account”) with proceeds currently in the amount of approximately $357,631.50 listed
20 in Defendant’s name. The Debtor is the owner of the Account, not Defendant or me, and the
21 Account and its proceeds belong to the Trustee, not Defendant or me.
            7.     The Debtor never took the final steps to complete the transfer of the Account and
22
23 its assets from Defendant to the Debtor, as the Debtor and I had agreed and authorized as
24 Defendant’s two partners.
            8.     Based on the foregoing, I do not claim any interest in the Property or the Account.
25
26 The Property and the Account are the Debtor’s property – not Defendant’s or mine – and, thus,
27 now the Trustee’s in light of the Debtor’s bankruptcy case.
28



                                                     3                        029
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                                              PROOF OF SERVICE OF DOCUMENT
 1
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
 2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

 3   A true and correct copy of the foregoing document titled DECLARATION OF WALTER JOHN
     LACK IN SUPPORT OF PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT UNDER LBR 7055-1
 4   AGAINST DEFENDANT G & L AVIATION, A CALIFORNIA GENERAL PARTNERSHIP will be served
     or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b)
 5   in the manner stated below:

 6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
     controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 7   hyperlink to the document. On April 28, 2021, I checked the CM/ECF docket for this bankruptcy case or
     adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
     receive NEF transmission at the email addresses stated below:
 8
     James J Finsten on behalf of Interested Party Courtesy NEF
 9   jfinsten@lurie-zepeda.com, jimfinsten@hotmail.com
10   Carmela Pagay on behalf of Plaintiff JASON M RUND
     ctp@lnbyb.com
11
     Jason M Rund (TR)
12   trustee@srlawyers.com, jrund@ecf.axosfs.com
13   Richard P Steelman, Jr on behalf of Plaintiff JASON M RUND
     rps@lnbyb.com, john@lnbyb.com
14
     United States Trustee (LA)
15   ustpregion16.la.ecf@usdoj.gov
16   Timothy J Yoo on behalf of Plaintiff JASON M RUND
     tjy@lnbyb.com
17
     2. SERVED BY UNITED STATES MAIL: On April 28, 2021, I served the following persons and/or
18   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
     and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
19   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
     completed no later than 24 hours after the document is filed.
20
     None.
21
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
22   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
     on April 28, 2021, I served the following persons and/or entities by personal delivery, overnight mail
23   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
     email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
24   mail to, the judge will be completed no later than 24 hours after the document is filed.

25   Walter John Lack, General Partner of G&L Aviation
     Engstrom Lipscomb & Lack
26   10100 Santa Monica Blvd. 12th floor
     Los Angeles, CA 90067-4107
27
     Thomas Girardi, General Partner of G&L Aviation
28   100 Los Altos Drive
     Pasadena, California 91105

      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

     June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
                                                                                                      031
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 1
     Leonard Peña, Esq.
 2   Peña & Soma, APC
     402 South Marengo Ave., Suite B
 3   Pasadena, California 91101
     Attorney for Robert Girardi, Conservator of Thomas Girardi
 4
     Robert Girardi, Conservator of Thomas Girardi
 5   3662 Aquarius Drive
     Huntington Beach, CA 92649
 6   Chambers Copy
     Hon. Barry Russell
 7   United States Bankruptcy Court, Central District of California
     Edward R. Roybal Federal Building and Courthouse
 8   255 E. Temple Street, Suite 1660 / Courtroom 1668
     Los Angeles, CA 90012
 9
10   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
     true and correct.
11
      April 28, 2021                   Richard P. Steelman, Jr.                         /s/ Richard P. Steelman, Jr.
12    Date                              Type Name                                       Signature
13
14
15
16
17
18
19
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27
28

      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

     June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
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                    Exhibit 3




                                                               033
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 CaseNbr               CaseName              TransDate TransTypeID   CheckNbr             Payee / Payor Name        Receipts      Disbursements       Description            Description2
  10001    TVG                               06/22/06     Check       13916     G & L Aviation                                       ($750,000.00)           .
  23150    Jones,Tom/Price,W v. Mormon Ch.   03/12/09     Check       21519     G & L Aviation                                        (650,000.00) Assoc Counsel Fees
  21239    VIOXX                             01/13/10     Check       23404     G & L Aviation                                        (182,849.59)           .
  10000    GK Misc                           04/26/05     Check        4042     G&L AVIATION                                          (500,000.00) Fees - wire transfer   orig coded to 22194
                                                                                                                           0.00     (2,082,849.59)

  10001    TVG                               06/22/06     Check       13917     Pac Ten Scott Road Associates LLC                  (3,200,000.00)            .
                                                                                                                          $0.00   ($3,200,000.00)

  21101    REZULIN                           03/02/07 Check           15847     M&M                                                  (750,000.00)          Costs
                                                                                                                          $0.00     ($750,000.00)




                                                                                                                                                      034
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                    Exhibit 4




                                                               035
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                         FINANCIAL          STATEMENT       Thomas       Erika Girardi

                                                   December 2017




 ASSETS

 Real Estate

 100 Los Altos Pasadena            CA see Note 1          14 500 000


 1126 Wilshire Blvd            see Note    2                7 500 000


 1122 Wilshire Blvd see Note               3                7 000 000


 113 8 Wilshire Blvd          see Note     4                6 000 000


 115 0 Wilshire Blvd                                        4 000 000


 PacTen     Partners     45     interest   see Note   5    21 500 000
           Based on investment       for   Temecula



 PGA West Property              81-775 Brown Deer            850 000


           Total Real Property                                             61 350000


 Cash on Hand

 GirardilKeese         Comerica      1891446674             5 000 000
  Proceeds      of Malibu      Home Sale


 Receivables     from GirardilKeese                       120 082 000


 Torrey Pines Bank       4110556201                            52500


 Torrey Pines Banl 4110556171                                  396 928


 Preferred   Bank 1115464                                      36671


 Preferred   Bank      11893   5                              120 317


 Pacific   Western     Bank     1000219400                    170 455


                                                                         125 858871


 Outstanding Additional EMenses advanced

                                    by Thomas Girardi                      14 576 000


 Interest in GirardilKeese         See Note    6                         100 000000

                                                                                                I




                                                                                   036
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 Listed   Securities

 Various   listed   securities   Wells Fargo                               5700 000


 Airplane Interests

 King Air 3 5 0                                                            3 000 000
 Gulf Stream IV         equity    loan   are   approx equal


  Other Assets

 Household    furniture     art antiques   at cost             2000 000
 Jewelry at cost                                               9000 000


  Spectrum Labs        15   5                                 62000 000
                                                                          73 000 000


                                                          TOTAL ASSETS                 383 484 871


 LIABILITIES


 Mortgage      1138 Wilshire     Blvd                         2500 000
  Comerica Bank      guarantor    only     see Note   7       5 000 000


                                                          TOTAL LIABILITIES               7500 000


                                           NET ASSETS OVER LIABILITIES                 375 984 871




                                                                                                     2



                                                                                037
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 I   declare   under penalty of perjury that   this   financial   statement   is   true and correct




 Date     December 30 2017
                                                  THOMAS          V GIRARDI




                                                      ERIKA GIRARDI




                                                                                                             3




                                                                                          038
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                                                                        NOTES



 Note     1 Los Altos Property

 The Los Altos property               sits   on five acres overlooking                     the   Rose Bowl in Pasadena         The
 architect      was on of the most famous in the United                    States Myron Hunt   He also designed the
 Rose Bowl and the Wrigley House                               The grounds were designed by Green   Green who also

 designed       Central Park         The home and the grounds were totally restored approximately                                    three


 years ago        Documents from the                     1920's   permitted the            home to be restored the way it was
 designed         Several    months ago             it    was   featured      in   the Robb        Report of luxury homes
 Unsolicited       cash    offer   13 500000

 Note 2         1126 Wilshire         Boulevard


 This    is   an appraisal    of the property three years old



 Note     3     1122 Wilshire         Boulevard


 Same     as Note    3


 Note     4     1138 Wilshire         Boulevard


 This    is   based on purchased             price plus appreciation                  based on price per square foot estimates            on

 Wilshire Boulevard



 Note     5     PacTen      Partners



 This consists      several       real estate projects              I   own     45 The             actual   was 11    million and a

 recent       offer was almost double               that



 Note     6     Interest in Girardil            Keese


 This simply reflects costs outstanding                           Over the years             I   have received     more than   95 of
 those    costs   back      We did not include the value                      of the 4000 cases that the firm has



 Note     7     Comerica Bank


 This represents          costs   advanced               The    firm is primarily responsible                but   Thomas   Girardi has

 guaranteed       the obligation




 Note         Lawsuit


 The only lawsuit           against    me is someone who's                    claiming an interest in one of the buildings
 This would not be money that we would have                                to
                                                                                   pay but rather I would have           a small

  ownership       interest     The     case    is    totally      baloney       but    I   did   want   to disclose   the lawsuit




                                                                                                                   039
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                        Exhibit 5




                                                               040
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Girardi Keese
                                                                             Main Document    Page 41 of 43
Trust Account System Activity Register
Bank Account: F - Comerica Trust 6674



 CaseNbr      CaseName        TransDate   TransTypeID   CheckNbr        Payee / Payor Name     Receipts       Disbursements   Description           Description2
  21101        REZULIN        01/30/07      Deposit     1302007 MERCK                        $64,845,728.14                   Settlement




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
8001 Lurline Avenue, Winnetka, CA 91306.

A true and correct copy of the foregoing document entitled (specify): TRUSTEE’S OPENING BRIEF ADDRESSING
ISSUES PRESENTED BY DISTRICT COURT’S REMAND ORDER; DECLARATION OF NICHOLAS R. TROSZAK will
be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 24, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

   • Ori S Blumenfeld oblumenfeld@lakklawyers.com, nlessard@laklawyers.com;smcfadden@laklawyers.com
   • Evan C Borges eborges@ggtriallaw.com, cwinsten@ggtriallaw.com
   • Alan W Forsley alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-lawyers.net,addy@flpllp.com
   • Larry W Gabriel lgabrielaw@outlook.com, tinadow17@gmail.com
   • Daniel A Lev daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
   • Craig G Margulies Craig@MarguliesFaithlaw.com,
     Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com
   • Elissa Miller (TR)  CA71@ecfcbis.com,
     MillerTrustee@gmlaw.com;C124@ecfcbis.com;cheryl.caldwell@gmlaw.com;cheryl.caldwell@ecf.courtdrive.com
   • Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com
   • Frank X Ruggier frank@ruggierlaw.com
   • Amir Shakoorian AShakoorian@GGTrialLaw.com
   • United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
   • Timothy J Yoo tjy@lnbyb.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _________, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
                                                                                                                      042
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3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) October 25, 2023, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing
to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Hon. Barry Russell
United States Bankruptcy Court
255 E. Temple Street, Suite 1660
Los Angeles, CA 90012

COURTESY COPY
Hon. Dale S. Fischer
U.S. District Court Judge
First Street Courthouse
350 West 1st Street, Courtroom 7D
Los Angeles, CA 90012

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 24, 2023                       KRISTINA DOW                                             /s/ Kristina Dow
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
                                                                                                                      043
